Case 1:24-mc-00639-MWJS-RT         Document 1      Filed 11/08/24    Page 1 of 17 PageID.1
                                                                   FILED IN THE
                                                           UNITED STATES DISTRICT COURT
                                                               DISTRICT OF HAWAII
 Todd Duell
 On the Land/soil county of honolulu                                NOV O8 2024
 c/o 68-151 Au St #212                                         J,          -- -   f
                                                          at_ o'clock and_ _ min.   M a"-·····
 Waialua, Hawaii [96791]                                    Lucy H. Carrillo, Clerk-
 duellfamilytrust.trustee@gmail.com
 808-379-5867

                       UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF HAWAII
                           300 Ala Moana Blvd, C-338
                               Honolulu, HI 96850
                                 808-541-1300

  Todd Alan Duell,
  Secured Paity Creditor,
                                                   ~ Case N"    C2;4-·o O6 3 9 MWJS Ri
  Holder In Due Course,                            )
  Complainant,                                     ) CRIMINAL COMPLAINT
  Ex Relatione on Behalf of:                       )
  Securities and Exchange Commission,              ) ORDER TO CONVENE
  United States of America,                        ) GRANDJURY
                                                   )
    V.                                             )
                                                   )
  Brenda L. McCormick,                             )
  Jeremy Barnum,                                   )
  Stacey Friedman,                                 )
  Selvi Stanislaus,                                )
  Jozel Brunett,                                   )
  Jeff Comber                                      )
  Derrick K. Watson                                )
  Lucy H. Carillo                                  )
                                                   )
   Defendants.


                              CRIMINAL COMPLAINT

 I, Todd Alan Duell, Complainant in this instant case, state the fo llowing is true to the
 best of my knowledge and belief. On or about the dates of:


                                          PAGE 1
Case 1:24-mc-00639-MWJS-RT       Document 1       Filed 11/08/24      Page 2 of 17 PageID.2




 1. The defendant(s) violated the codes as indicated below, which hereby
    incorporates and references evidence lodged in SUPERIOR COURT OF
    CALIFORNIA, VENTURA COUNTY Case Number: 2016004124 and
    2023CUFR014148 and UNITED STATES DISTRICT COURT FOR THE
    DISTRICT OF HAWAII Case Number: C24-00588-DKW-KJM.


  Code Section      Descrivtion
  18 USC§ 2071      Concealment, Removal, or Mutilation
                    (a)
                    Whoever willfully and unlawfully conceals, removes,
                    mutilates, obliterates, or destroys, or attempts to do so, or, with
                    intent to do so takes and carries away any record, proceeding,
                    map, book, paper, document, or other thing, filed or deposited
                    with any clerk or officer of any court of the United States, or
                    in any public office, or with any judicial or public officer of the
                    United States, shall be fined under this title or imprisoned not
                    more than three years, or both.
                    (b)
                    Whoever, having the custody of any such record, proceeding,
                    map, book, document, paper, or other thing, willfully and
                    unlawfully conceals, removes, mutilates, obliterates, falsifies,
                    or destroys the same, shall be fined under this title or
                    imprisoned not more than three years, or both; and shall forfeit
                    his office and be disqualified from holding any office under the
                    United States. As used in this subsection, the term "office" does
                    not include the office held by any person as a retired officer of
                    the Armed Forces of the United States.
                    (June 25, 1948, ch. 645, 62 Stat. 795; Pub. L. 101-510, div. A,
                    title V, § 552(a) . Nov. 5, 1990, 104 Stat. 1566; Pub. L. I 03-
                    322, title XXXII.I, § 3300 I 6(1 )(I), Sept. 13, 1994, 108 Stat.
                    2147.)

  Title LXX Ch. 4   Crimes Against Justice
  § 5403             Every person who willfully destroys or attempts to destroy, or, with
                     intent to steal or destroy, takes and carries away any record, paper,
                     or proceeding of a court of justice, filled or deposited with any clerk
                     or officer of such court, or any paper, or document, or record filed or
                     deposited in any public office, or with any judicial or public officer,
                                         PAGE 2
Case 1:24-mc-00639-MWJS-RT        Document 1        Filed 11/08/24      Page 3 of 17 PageID.3



                      shall, without reference to the value of the record, paper, document, or
                      proceeding so taken, pay a fine of not more than two thousand dollars,
                      or suffer imprisonment, at hard labor, not more than three years, or
                      both: [See§§ 5408,5411,5412. l]
  Title LXX Ch. 4   Crimes Against Justice
  § 5407              If two or more persons in any State or Territory conspire for the
                      purpose of impeding, hindering, obstructing, or defeating, in any
                      manner, the due course of justice in any State or Territory, with intent
                      to deny to any citizen the equal protection of the laws, or to injure
                      him or his property for lawfully enforcing, or attempting to enforce,
                      the right of any person, or class of persons, to the equal protection
                      of the laws, each of such persons shall be punished by a fine of not
                      less than five hundred nor more than five thousand dollars, or by
                      imprisonment, with or without hard labor, not less than six months nor
                      more than six years, or by both such fine and imprisonment. See
                      §§1977-1991, 20042010, 5506-5510.l
  Title LXX Ch. 4   Crimes Against Justice
  § 5408            Every officer, having the custody of any record, document, paper, or
                    proceeding specified in section fifty-four hundred and three, who
                    fraudulently takes away, or withdraws, or destroys any such record,
                    document, paper, or proceeding filed in his office or deposited with him
                    or in his custody, shall pay a fine of not more than two thousand dollars,
                    or suffer imprisonment at hard labor not more than three years, or both-,
                    and shall, moreover, forfeit his office and be forever afterward disqualified
                    from holding any office under the Government of the United States
  18 USC§ 1341      Frauds and Swindles:
                    Whoever, having devised or intending to devise any scheme or
                    artifice to defraud, or for obtaining money or property by
                    means of false or fraudulent pretenses, representations, or
                    promises, or to sell, dispose of, loan, exchange, alter, give
                    away, distribute, supply, or furnish or procure for unlawful use
                    any counterfeit or spurious coin, obligation, security, or other
                    article, or anything represented to be or intimated or held out
                    to be such counterfeit or spurious article, for the purpose of
                    executing such scheme or artifice or attempting so to do, places
                    in any post office or authorized depository for mail matter, any
                    matter or thing whatever to be sent or delivered by the Postal
                    Service, or deposits or causes to be deposited any matter or
                    thing whatever to be sent or delivered by any private or
                    commercial interstate carrier, or takes or receives therefrom,

                                          PAGE 3
Case 1:24-mc-00639-MWJS-RT    Document 1      Filed 11/08/24    Page 4 of 17 PageID.4



                  any such matter or thing, or knowingly causes to be delivered
                  by mail or such carrier according to the direction thereon, or at
                  the place at which it is directed to be delivered by the person
                  to whom it is addressed, any such matter or thing, shall be fined
                  under this title or imprisoned not more than 20 years, or both.
                  If the violation occurs in relation to, or involving any benefit
                  authorized, transported, transmitted, transferred, disbursed, or
                  paid in connection with, a presidentially declared major
                  disaster or emergency (as those terms are defined in section
                  102 of the Robert T. Stafford Disaster Relief and Emergency
                  Assistance Act (42 U.S.C. 5122)), or affects a financial
                  institution, such person shall be fined not more than
                  $1,000,000 or imprisoned not more than 30 years, or both.
  15 USC§ 1       Trusts, etc. in Restraint of Trade; Penalty
                  Every contract, combination in the form of trust or otherwise,
                  or conspiracy, in restraint of trade or commerce among the
                  several States, or with foreign nations, is declared to be illegal.
                  Every person who shall make any contract or engage in any
                  combination or conspiracy hereby declared to be illegal shall
                  be deemed guilty of a felony, and, on conviction thereof, shall
                  be punished by fine not exceeding $100,000,000 if a
                  corporation, or, if any other person, $1,000,000, or by
                  imprisonment not exceeding 10 years, or by both said
                  punishments, in the discretion of the court.
  15 USC§ 2       Monopolizing Trade a Felony; Penalty
                  Every person who shall monopolize, or attempt to monopolize,
                  or combine or conspire with any other person or persons, to
                  monopolize any part of the trade or commerce among the
                  several States, or with foreign nations, shall be deemed guilty
                  of a felony, and, on conviction thereof, shall be punished by
                  fine not exceeding $100,000,000 if a corporation, or, if any
                  other person, $1,000,000, or by imprisonment not exceeding
                  10 years, or by both said punishments, in the discretion of the
                  court.
  18 USC§ 472     Uttering Counterfeit Obligations or Securities
                  Whoever, with intent to defraud, passes, utters, publishes, or
                  sells, or attempts to pass, utter, publish, or sell, or with like
                  intent brings into the United States or keeps in possession or
                  conceals any falsely made, forged, counterfeited, or altered

                                     PAGE 4
Case 1:24-mc-00639-MWJS-RT    Document 1      Filed 11/08/24   Page 5 of 17 PageID.5



                  obligation or other security of the United States, shall be fined
                  under this title or imprisoned not more than 20 years, or both.
  18 USC§ 475     Imitating Obligations or Securities
                  Whoever designs, engraves, prints, makes, or executes, or
                  utters, issues, distributes, circulates, or uses any business or
                  professional card, notice, placard, circular, handbill, or
                  advertisement in the likeness or similitude of any obligation or
                  security of the United States issued under or authorized by any
                  Act of Congress or writes, prints, or otherwise impresses upon
                  or attaches to any such instrument, obligation, or security, or
                  any coin of the United States, any business or professional
                  card, notice, or advertisement, or any notice or advertisement
                  whatever, shall be fined under this title. Nothing in this section
                  applies to evidence of postage payment approved by the United
                  States Postal Service.
  18 USC§ 371     Conspiracy to Commit Offense or to Defraud United
                  States
                  If two or more persons conspire either to commit any offense
                  against the United States, or to defraud the United States, or
                  any agency thereof in any manner or for any purpose, and one
                  or more of such persons do any act to effect the object of the
                  conspiracy, each shall be fined under this title or imprisoned
                  not more than five years, or both.
                  If, however, the offense, the commission of which is the object
                  of the conspiracy, is a misdemeanor only, the punishment for
                  such conspiracy shall not exceed the maximum punishment
                  provided for such misdemeanor.
  26 USC§ 7201    Attempt To Evade or Defeat Tax
                  Any person who willfully attempts in any manner to evade or
                  defeat any tax imposed by this title or the payment thereof
                  shall, in addition to other penalties provided by law, be guilty
                  of a felony and, upon conviction thereof, shall be fined not
                  more than $100,000 ($500,000 in the case of a corporation), or
                  imprisoned not more than 5 years, or both, together with the
                  costs of prosecution.
  18 USC § 2073   False Entries and Reports of Moneys or Securities
                  Whoever, being an officer, clerk, agent, or other employee of
                  the United States or any of its agencies, charged with the duty
                  of keeping accounts or records of any kind, with intent to
                  deceive, mislead, injure, or defraud, makes in any such account
                                     PAGE 5
Case 1:24-mc-00639-MWJS-RT     Document 1     Filed 11/08/24    Page 6 of 17 PageID.6



                   or record any false or fictitious entry or record of any matter
                   relating to or connected with his duties; or
                   Whoever, being an officer, clerk, agent, or other employee of
                   the United States or any of its agencies, charged with the duty
                   of receiving, holding, or paying over moneys or securities to,
                   for, or on behalf of the United States, or of receiving or holding
                   in trust for any person any moneys or securities, with like
                   intent, makes a false report of such moneys or securities-
                   Shall be fined under this title or imprisoned not more than ten
                   years, or both.
  SEC Rule 10b-5   Securities Fraud
                   The SEC promulgated Rule l0b-5 under Section I0(b) of
                   the Exchange Act, which authorizes the SEC to regulate
                   securities fraud. The text of the regulation, formally 17 CFR §
                   240. l 0b-5, states that "it shall be unlawful for any person ...
                   (a) [t]o employ any device, scheme, or artifice to defraud, (b)
                   [t]o make any untrue statement of a material fact or to omit to
                   state a material fact ... or (c) to engage in any act, practice,
                   or course of business which operates or would operate as a
                   fraud or deceit upon any person, in connection with the
                   purchase or sale of any security."
                   Standing
                   While not explicit in the language, courts have interpreted
                   Rule 10b-5 to create a private civil cause of action and
                   additionally allow the SEC to bring criminal enforcement
                   actions. In order to bring a private right of action under Rule
                   10b-5, the plaintiff must have standing. In Blue Chip Stamps
                   v. Manor Drug Stores. 421 U.S. 723 (1975), the U.S. Supreme
                   Court ruled that a plaintiff must have actually purchased or
                   sold a security to have standing under Rule 10b-5. That is,
                   claiming that a fraudulent misrepresentation caused the
                   plaintiff to forego purchasing or selling a security does not
                   allow them to bring a cause of action under Rule 10b-5.
                   Unlike Section 11, however, Rule 10b-5 applies to both
                   public offerings and private placements.
                   Elements
                   For a private plaintiff or the SEC to prove a violation of Rule
                   I 0b-5, they must prove the following elements:
                       • The individual misrepresented a material fact.
                           In Vireinia Bankshares v. Sandbere, 501 U.S. 1083
                                      PAGE6
Case 1:24-mc-00639-MWJS-RT     Document 1       Filed 11/08/24    Page 7 of 17 PageID.7



                          (] 991 ), the Supreme Court found knowingly false
                         statements of reason or opinion to be actionable even
                         though they were conclusory in form. There, the
                         company's directors informed shareholders that the
                         price they would get for their shares from a merger was
                         "high" and a premium, where in fact the directors
                         believed that the value was fair.
                      • The individual did so knowingly, i.e. scienter. This is a
                         lower mental state than strict liability~ as required by
                         Section 11, but the U.S. Supreme Court in Ernst &
                         Ernst v. Hochfelder. 425 U.S. 185 (1976) clarified that
                         it was higher than negligence. In Tellabs v. Makar
                         Issues & Rights. 551 U.S. 308 (2007), the U.S.
                         Supreme Court described the mental state requirement
                         as being more or equally plausible that the individual
                         knew of the misrepresentation than not.
                      • The plaintiff relied on the individual's material
                         misrepresentation. That is, the misrepresentation must
                         have caused the individual to transact in the security.
                      • The plaintiff suffered loss.
                   In addition to a private suit, if the SEC establishes those
                   elements, then the individual may be
                   CRIMINALLY LIABLE.
  5 USC§§          Striking Against the Government, Seditious Conspiracy
  3331-3333
  (7311), 18 USC   An individual may not accept or hold a position in the
  § 2384           Government of the United States or the government of the
                   District of Columbia if he-
                   (1)
                   advocates the overthrow of our constitutional form of
                   government;
                   (2)
                   is a member of an organization that he knows advocates the
                   overthrow of our constitutional form of government;
                   (3)
                   participates in a strike, or asserts the right to strike, against the
                   Government of the United States or the government of the
                   District of Columbia; or

                                       PAGE 7
Case 1:24-mc-00639-MWJS-RT     Document 1     Filed 11/08/24    Page 8 of 17 PageID.8



                   (4)
                   1s a member of an organization of employees of the
                   Government of the United States or of individuals employed
                   by the government of the District of Columbia that he knows
                   asserts the right to strike against the Government of the United
                   States or the government of the District of Columbia.

                   If two or more persons in any State or Territory, or in any place
                   subject to the jurisdiction of the United States, conspire to
                   overthrow, put down, or to destroy by force the Government of
                   the United States, or to levy war against them, or to oppose by
                   force the authority thereof, or by force to prevent, hinder, or
                   delay the execution of any law of the United States, or by force
                   to seize, take, or possess any property of the United States
                   contrary to the authority thereof, they shall each be fined under
                   this title or imprisoned not more than twenty years, or both.
  Private Estate   CUSIP's (105-69-312626]; 31614562, 779576107,
  Trespass         316069699 and 3163 8R881
  18 USC§ 241      Conspiracy Against Rights;
                   If two or more persons conspire to injure, oppress, threaten, or
                   intimidate any person in any State, Territory, Commonwealth,
                   Possession, or District in the free exercise or enjoyment of any
                   right or privilege secured to him by the Constitution or laws of
                   the United States, or because of his having so exercised the
                   same; or
                   If two or more persons go in disguise on the highway, or on the
                   premises of another, with intent to prevent or hinder his free
                   exercise or enjoyment of any right or privilege so secured-
                   They shall be fined under this title or imprisoned not more than
                   ten years, or both; and if death results from the acts committed
                   in violation of this section or if such acts include kidnapping or
                   an attempt to kidnap, aggravated sexual abuse or an attempt to
                   commit aggravated sexual abuse, or an attempt to kill, they
                   shall be fined under this title or imprisoned for any term of
                   years or for life, or both, or may be sentenced to death.
                   (June 25, 1948, ch. 645, 62 Stat. 696; Pub. L. 90-284, title I,
                   § 103(a), Apr. 11, 1968, 82 Stat. 75; Pub. L. 100-690, title VII,
                   § 7018(a) . (b)(l), Nov. 18, 1988, 102 Stat. 4396; Pub. L. 103-
                   322, title VI, § 60006{a).. title XXXII, §§ 320103(a),
                   320201(a), title XXXIII, § 330016(l)(L), Sept. 13, 1994, 108
                                      PAGES
Case 1:24-mc-00639-MWJS-RT    Document 1      Filed 11/08/24   Page 9 of 17 PageID.9



                  Stat. 1970, 2109, 2113, 2147; Pub. L. 104-294, title VI,
                  §§ 604(b)(14)(A), 607(a), Oct. 11, 1996, 110 Stat. 3507, 3511.)

  18 USC§ 242     Deprivation of Rights Under Color of Law;
                  Whoever, under color of any law, statute, ordinance,
                  regulation, or custom, willfully subjects any person in any
                  State, Territory, Commonwealth, Possession, or District to the
                  deprivation of any rights, privileges, or immunities secured or
                  protected by the Constitution or laws of the United States, or
                  to different punishments, pains, or penalties, on account of
                  such person being an alien, or by reason of his color, or race,
                  than are prescribed for the punishment of citizens, shall be
                  fined under this title or imprisoned not more than one year, or
                  both; and if bodily injury results from the acts committed in
                  violation of this section or if such acts include the use,
                  attempted use, or threatened use of a dangerous weapon,
                  explosives, or fire, shall be fined under this title or imprisoned
                  not more than ten years, or both; and if death results from the
                  acts committed in violation of this section or if such acts
                  include kidnapping or an attempt to kidnap, aggravated sexual
                  abuse, or an attempt to commit aggravated sexual abuse, or an
                  attempt to kill, shall be fined under this title, or imprisoned for
                  any term of years or for life, or both, or may be sentenced to
                  death.
                  (June 25, 1948, ch. 645, 62 Stat. 696; Pub. L. 90-284, title I,
                  § 103(b). Apr. 11, 1968, 82 Stat. 75; Pub. L. 100-690, title VII,
                  § 7019, Nov. 18, 1988, 102 Stat. 4396; Pub. L. I 03-322, title
                  VI, § 60006(b }, title XXXII, §§ 320103(b), 320201 (b), title
                  XXXIII, § 330016(l)(H), Sept. 13, 1994, 108 Stat. 1970, 2109,
                  2113, 2147; Pub. L. 104-294, title VI, §§ 604(b)(l4)(B),
                  607(a), Oct. 11, 1996, 110 Stat. 3507, 3511.)




                                   PARTIES
                                     PAGE9
Case 1:24-mc-00639-MWJS-RT       Document 1   Filed 11/08/24   Page 10 of 17 PageID.10




  SUPERIOR COURT OF CALIFORNIA, VENTURA COUNTY
  800 S. Victoria Avenue
  Ventura, CA 93009

        Brenda L McCormick, CEO

  JP. MORGAN CHASE BANK
  270 Park Avenue
  New York, NY 10017

        Jeremy Barnum, CFO
        Stacey Friedman, Chief Legal Counsel


  CALIFORNIA STATE TAX FRANCHISE BOARD
  PO BOX 115
  MS-A390
  Rancho Cordova, CA 95741-0015

        Selvi Stanislaus, CEO
        Jozel Brunett, Chief Legal Counsel


  CDCR CALIFORNIA
  1515 S St
  Sacramento, CA 95811

        Jeff Comber, Secretary

  UNITED STATES DISTRICT COURT
  FOR THE DISTRICT OF HAWAII
  300 Ala Moana Blvd, C-338
  Honolulu, HI 9685 0

        Derrick K Watson
        Lucy H Carillo




                                       PAGE 10
Case 1:24-mc-00639-MWJS-RT       Document 1     Filed 11/08/24   Page 11 of 17 PageID.11



         THIS CRIMINAL COMPLAINT IS BASED ON THESE FACTS

  1. I, Todd Alan Duell, am the Secured Party Creditor, Holder In Due Course, and
     Principal Owner for the Estate TODD ALAN DUELL©.

  2. The Treasury Direct Account now stated as XX-XXX:0046 is opened and all
     records are publicly available with the Secretary of State of COLORADO
     #20212079883.

  3. I revoked and revested legal and equitable title under the merger rule away from
     the "Alien Property Custodian" and "Common-Law Trustee" under 50 USC §
     4312 and 28 USC § 581. The agency agreement, 5 USC § 551, has been
     terminated. Fiscal Agents and Bar counsel, acting under presumption of 50 USC
     § 4312, are knowingly, intentionally, willfully, and actively engaged in private
     trespass against the legal title ownership and restraint of trade against the
     Estate/Trust TODD ALAN DUELL©.

  4. CDCR has had a copy of the tort claim and discharge bonds in my "jacket" since
     September 2023. Their agents received constant written communication in regard
     to the securities at bar, kidnapping and false imprisonment in violation of
     Trezevant v City of Tampa, 741 F2d 336, and the tort claim;

        a. April 7, 2023: Agent Rodriquez; "Status Correction"
        b. June 6, 2023: Agent Rodriquez; "Status Correction"
        c. October 2, 2023: Agent Ortega; "Non-Negotiable Notice of Right to
           Cancel All Bonds and Amend Filed Tort Claim"

  5. In 2021, a bond was deposited with Michael D. Planet, Clerk of the Court at
     SUPERIOR COURT OF CALIFORNIA, COUNTY OF VENTURA case trust
     securities account number 2016004124 bearing CUSIPs 316069699 and
     31638R881 in accord with 28 USC § 2041 "Deposit of moneys for pending or
     adjudicated cases", 48 CFR Ch.1 § 53.228 "Bonds and Insurance", and 41 CFR
     § 105-55.030 "discharge of indebtedness; reporting requirements." Brenda L.
     McCormick is the current Clerk of t~e Court and is aware of the tort claim lodged
     in the court.                       '

  6. The bond was not dishonored by the Clerk of the Court. The Clerk of the Court
     knowingly, intentionally, and willfully refused to process the Affidavit of Notice
     [of Discharge].


                                        PAGE 11
Case 1:24-mc-00639-MWJS-RT      Document 1    Filed 11/08/24   Page 12 of 17 PageID.12



  7. On September 15, 2023, a tort claim was filed against Erik Nasareuko, District
     Attorney and Anthony Wold, Prosecutor for fraud in violation of; 26 USC §
     770l(a)(26). 15 USC §§ l, 2, 28 USC § 1331; 48 CFR Ch. 1 § 53.228. Case
     number 2023CUFR014148. The tort claim was calculated by statute in the
     amount of $3,889,152,170.69. Neither the discharge bonds nor the calculated
     value of the tort has been disputed.

  8. The herein named Defendants had actual and constructive legal knowledge of the
     public commercial record in regard to my status and standing and knowingly,
     intentionally and willfully stepped through the public commercial UCC-1 liens
     on my property and took the following funds via wire fraud from my bank
     account at JP MORGAN CHASE BANK (Account Number: XXXXX5869,
     Routing Number: XXXXX:1627):

        May 6, 2024: $25,829.83

        September 12, 2024: $127,484.32

        TOTAL: $153,314.15

  9. On May 11, 2024, I filed a complaint with the Honolulu Police Department ID #
     28564, which has been ignored. Administrative process has been exhausted.

  IO.On May 13, 2024, I filed a complaint with the FBI Victim Account Number
     566165869, which has been ignored. Administrative process has been exhausted.

  11. On May 13, 2024 LEGAL NOTICE AND DEMAND to return the funds was sent
      to Jeremy Barnum and Stacey Friedman, JP MORGAN CHASE as directed by
      account services to the fax number: 866-699-0618. They also received a copy of
      the public commercial UCC-1 lien.

  12.On or about June 14, 2024 JP MORGAN CHASE BANK blamed the
     CALIFORNIA FRANCHISE TAX BOARD "CAFTB." NOTICE OF DEFAULT
     was faxed again to JP MORGAN CHASE BANK and mailed to CA FTB USPS
     Certified Mail Restricted Delivery 9589 0710 5270 0947 0429 31. Neither named
     Defendant responded, nor denied the Notice and UCC-1 lien, nor the fact that the
     alleged debt was discharged.

  13.On or about June 28, 2024 JP MORGAN CHASE BANK then blamed CDCR.
     "Affidavit of Negative Averment" was sent to Jeff Comber, Secretary via USPS
                                       PAGE 12
Case 1:24-mc-00639-MWJS-RT      Document 1     Filed 11/08/24   Page 13 of 17 PageID.13



     Certified Mail Restricted Delivery 9589 0710 5270 947 0432 97. The named
     Defendants did not respond, nor deny the Notice and UCC-1 lien, nor the fact
     that the alleged debt was discharged.

  14.On September 14, 2024 "Administrative Negative Averment" was faxed to the
     named Defendants at JP MORGAN CHASE BANK and uploaded into the
     "Client Message Portal" and mailed via USPS Certified Mail Restricted Delivery
     to the named Defendants at CA FTB 7022 3330 0000 4580 0559. The named
     Defendants did not respond nor deny the Notice of RICO and wire fraud.

  15.A demand was made to return the funds within 24 hours, which was ignored. The
     money appears to have been embezzled despite the known public commercial
     UCC-1 lien on the account and the fact that the commercial liabilities have been
     discharged.

  16. On September 16, 2024 the current Clerk of the Court, Brenda L McCormick
      received the notice "Administrative Negative Averment. Order to Clerk of the
      Court to Schedule: Motion to Acknowledge Title 48 CFR International
      Commercial Affidavit Presented as Letter of Rogatory. Notice to Appoint Trustee
      wit Form 56 in Support of Motion to Acknowledge Title 48 CFR International
      Commercial Affidavit Presented as Letter of Rogatory. Motion for Oral
      Argument. It appears that Brenda L McCormick has made a judicial decision to
      reject the motion, refuse commercial discharge, and embezzle the discharge
      bonds.

  17.On or about October 2, 2024 Derrick K Watson, dba JUDGE DERRICK K.
     WATSON, operating under Color of Law at all times (Capitis Deminutio
     Maxima), changed the criminal complaint to civil, without my consent, the
     review of the evidence, or by a grand jury, and issued a "Deficiency Order" to
     file "In Forma Pauperis." Said order is irrelevant and void as administrative
     process and PAGA was exhausted and the case was bonded for a criminal
     complaint, not a civil complaint. It is "Blackletter Law" that all criminal cases
     must be bonded.

     Derrick K Watson appears to be knowingly, intentionally, and willfully blocking
     justice in violation of the premise of FRCP Rule 8( e) "justice" and the 7th
     Amendment for the United States Constitution as the Defendants appear to be
     claiming that Todd Alan Duell, living man, Trustee, Secured Party Creditor,
     Holder In Due Course, and Principal Owner is one in the same as the corporate
     legal fiction Estate TODD ALAN DUELL© in violation of 26 USC §
                                        PAGE 13
Case 1:24-mc-00639-MWJS-RT      Document 1    Filed 11/08/24   Page 14 of 17 PageID.14



     7701(a)(1)(26), 28 USC§ 1331, and 31 CFR § 363.6 "minor", post Erie Railroad
     v Tomkins, 304 US 64 ( 1938). Under said presumption, that would make the
     Defendants admitting to a "common-law" crime in accord with the 7th
     Amendment of the United States Constitution.

     DEMAND FOR ARTICLE III COURT: Demand is hereby made to proceed
     under Original Constitutional Jurisdiction, pre-March 9, 1933. Not post-March
     9, 1933 "New Deal Construction" in relation to the parties as the named
     Defendants. See Norton v Shelby County, 118 US 425; the bonds created by the
     named Defendants are invalid and either the bonds or their value are required to
     be returned to Todd Alan Duell as the original owner.

  18.On October 14, 2024, Affidavit in Support of In Forma Pauperis and Criminal
     Complaint Responsive to Deficiency Order Dated 10/02/2024 and Motion and
     Order to Convene Grand Jury was lodged with the Clerk of the Court. The grand
     jury was not convened.

  19.On October 23, 2024, Motion to Acknowledge Title 48 CFR International
     Commercial Affidavit Presented as Letter Rogatory and Order to Clerk of the
     Court to Deposit Bonds to Convene Grand Jury and Criminal Complaint; 28 USC
     § 2041 was lodged with the Clerk of the Court. The Motion was not heard and
     the grand jury was not convened.

  20.Instead, on November 1, Lucy H Carillo, dba LUCY H CARILLO, operating
     under "color of law" at all times (Capitis Deminutio Maxima), filed a judgment
     decision by the court for the criminal complaint on behalf Derrick K Watson dba
     JUDGE DERRICK K WATSON to dismiss the criminal complaint without my
     consent as the Ex Relatione complainant in the instant case.

     TAKE NOTICE: It appears that Derrick K Watson and Lucy H Carillo are
     conspiring aid and abet securities fraud in violation of 18 USC§§ 472,475, 2073,
     and SEC Rule l0B-5, for which Todd Alan Duell is the Beneficiary.


                     BONDS FOR CRIMINAL COMPLAINT

  21. As the Holder In Due Course, I am hereby attaching my bond(s) for the
     Criminal Complaint in the nature of Ex Relatione; 28 USC§ 2041, 48 CFR
     Ch.I § 53.228, SF 24, 25, 25A, 28, 1418, 273,274,275.


                                       PAGE 14
Case 1:24-mc-00639-MWJS-RT       Document 1     Filed 11/08/24   Page 15 of 17 PageID.15



     TAKE NOTICE: Bonds for JUDGE DERRICK K WATSON and LUCY H
     CARRILLO have been arrested and attached to this instant criminal case; UCC
     § 3-419, "GOOD AS AVAL" as per the notice of right to amend the criminal
     complaint.

     TAKE NOTICE: Clerk of the Court: Is requested to fill in the Invitation
     Number (Case Number) and any other necessary information, including, but not
     limited to the CUSIP's for; GSA SF 24, 25, 25A, 28, 1418, 273,274,275 to bond
     the criminal charges for the named Defendants.

     I agree to sign the bonds in front of the Clerk of the Court and/or Judge as
     witness.


             RESERVATION OF RIGHT TO AMEND COMPLAINT

  TAKE NOTCE: I reserve all rights to amend this complaint as new individuals and
  evidence becomes available.


                      ORDERTOCONVENEGRANDJURY

  WHEREFORE, In accord with the nature of Ex Relation, injured party
  moves/instructs the Clerk of the Court to convene the grand jury.


                  ADDITIONAL POINTS AND AUTHORITIES

  22.48 CFR Ch. 1 § 53.228 and the CSIG Treaty - What authority does a BAR
     member and the Court have to strike the entire bonding and insurance and
     underwriting system for the United States monetary system authorized by
     the Federal Reserve and Public Policy under the International CISG Treaty?
     Has this Public Policy been repealed?

  23.12 USC§ 266 Fiscal Agents; duties - PENNYMAC LOAN SERVICES and the
     COURT are "Fiscal Agents", with access to a TT&L Terminal (31 CFR § 203)
     to perform setoff and discharge of all commercial liabilities as a routine
     operation.



                                         PAGE 15
Case 1:24-mc-00639-MWJS-RT      Document 1      Filed 11/08/24     Page 16 of 17 PageID.16



        Banks, savings banks, and savings and loan, building and loan, homestead
        associations (including cooperative banks), and credit unions created under
        the laws of any State and the deposits or accounts of which are insured by a
        State or agency thereof or corporation chartered pursuant to the laws of any
        State may be depositaries of public money and may be employed as fiscal
        agents of the United States. The Secretary of the Treasury is authorized to
        deposit public money in any such institution, and shall prescribe such
        regulations as may be necessary to enable such institutions to become
        depositaries of public money and fiscal agents of the United States. Each such
        institution shall perform all such reasonable duties as depositary of public
        money and fiscal agent of the United States as may be required of it including
        services in connection with the collection of taxes and other obligations owed
        the United States.

        (Pub. L. 95-147, § 2(d) . Oct. 28, 1977, 91 Stat. 1228.)


  24.DEPARTMENT OF AGRICULTURE RURAL DEVELOPMENT RURAL
     HOUSING SERVICE v KIRTZ, February 8, 2024 No. 22-846

        "Congress has authorized a waiver of sovereign immunity"

  25.LOPER BRIGHT ENTERPRISES V RAIMONDO, 603 US_ JUNE 28, 2024

        "The Administrative Procedures Act Requires courts to exercise their
        independent iudgment in deciding whether an agency has acted within its
        statutory authority and courts may not defer to an agency interpretation
        of the law simply because a statute is ambiguous."

  26.ARAU V. ROCKET MORTGAGE, U.S. SUPREME COURT DOCKET NO.
     23-1284; Conference set for September 30, 2024.

     a) Can the identified "Holder" of a securitized debt instrument (i.e. mortgage,
        car loan, etc.) avoid discharge of the debt when bonds are issued in accord
        with Title 48 CFR Ch. 1 § 53.228?
     b) Can any court dishonor discharge when bonds are issued in accordance with
        Title 48 CFR Ch. 1 § 53.228?
     c) Can any court ignore the nature of the Bills of Exchange Act as it applies to
        securitized liabilities in accord with Title 48 CFR Ch. 1 § 53.228?

                                        PAGE 16
Case 1:24-mc-00639-MWJS-RT        Document 1      Filed 11/08/24     Page 17 of 17 PageID.17



     d) Is it possible to achieve a qui et title or lis pendens action without court due
        process?
     e) Can the alleged creditor, who sold the debt to a third pa1ty, maintain standing
        to foreclose or reposess when the liability was discharged in accord with Title
        48 CFR Ch. 1 § 53 .228?
     f) Can a third party, who is not the securit ized liab ility debt "Holder" perform a
        foreclosure or repossession action?
     g) Are the courts violating the U.S. Constitution Article l, § 8, Cl. 17, Commerce
        Clause, when blocking the a bility to tender bonds (U.C.C. § 2-5 l l "Tender of
        Payment by Buyer; Payment by Check") to discharge commercial paper
        liab ilities in addition to U.S. Constitution Article 3, § 2, Cl. 1, Judicial Clause,
        by and through Title 28 U.S.C. § 3002(4) "Debtor" and U.C.C. § 2-201(2)
        "Statutes of Frauds"?




                           Complainant Signature:     - ~- V/
                                                           - -~- -~-~- '--"'-----'---
                                                                        Todd Alan Duell
                                                                                 Trustee
                                                                  Secured Party Creditor
                                                                   Holder In Due Course
                                                                        Principal Owner
                                                        Internationally Protected Person
                                                                  PL 94-467, PL 92-539
                                                                       Without Prejudice
                                                                       Without Recourse
                                                         CO SOS UCC-1:20212079883
                                                 d/b/a TODD ALAN DUELL© TRUST


  Sworn to before me and signed in my presence.


  Date:
                                                                Judge's Signature


  City and State: Honolulu, Hawaii
                                                         Printed Name and Title
                                           PAGE 17
